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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------x
In re:
                                                           Chapter 13
        NESTOR ROSADO,                                     Case No. 19-13897 (CGM)

                                    Debtor(s).
-----------------------------------------------x


                                       ORDER TO SHOW CAUSE


        WHEREAS on December 11, 2019, a notice of a confirmation hearing to be held on
February 6, 2020 at 1:15 p.m. was issued;


        WHEREAS on February 6, 2020, a confirmation hearing was held and the Debtor’s
Attorney failed to appear during the hearing; IT IS, THEREFORE, HEREBY


        ORDERED the Debtor’s Attorney, Maria M. Malave, APPEAR before the Court on
April 30, 2020 at 1:15 p.m. at the United States Bankruptcy Courthouse located at One Bowling
Green, New York, NY 10004 and SHOW CAUSE why fees should not be disgorged or
disallowed pursuant to § 329 and New York Rules of Professional Conduct Rule 1.1 for failing
to provide competent representation to the Debtor.




                                                            /s/ Cecelia G. Morris
                                                            _______________________
Dated: February 10, 2020                                    Hon. Cecelia G. Morris
Poughkeepsie, New York                                      Chief U.S. Bankruptcy Judge
